     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 1 of 73




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                               x
ALEXIS MARQUEZ,                                :        Civil Action No. 1:18-cv-07315-ALC
                                               :
                                   Plaintiff,  :
                                               :        ECF CASE
v.                                             :
                                               :
DOUGLAS HOFFMAN, SALIANN                       :
SCARPULLA, GEORGE SILVER,                      :        ANSWER TO AMENDED
LAWRENCE MARKS, JOHN MCCONNELL,                :        COMPLAINT
LAUREN DESOLE, KAY-ANN PORTER, LISA :
EVANS, LORI SATTLER, DENIS REO,                :
LUCIAN CHALFEN, EUGENE FAHEY, PAUL :
FEINMAN, MICHAEL GARCIA, JENNY                 :
RIVERA, LESLIE STEIN, ROWAN WILSON,            :
in their individual capacities, JANET DIFIORE, :
in her individual capacity and in her official :
capacity as Chief Judge of New York State, and :
THE STATE OF NEW YORK,                         :
                                               :
                                   Defendants.
                                               :
                                               x

       Defendant Douglas Hoffman (“Hoffman” or “Defendant”), by his undersigned counsel,

Proskauer Rose LLP, states in Answer to the Amended Complaint (“Complaint”) of plaintiff

Alexis Marquez (“Marquez” or “Plaintiff”) as follows:

                         AS TO THE PRELIMINARY STATEMENT

       1.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 1 of the Complaint.

       2.      Defendant admits the allegations in paragraph 2 of the Complaint.

       3.      Defendant denies the allegations in paragraph 3 of the Complaint.
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 2 of 73



       4.      Defendant denies the allegations in paragraph 4 of the Complaint, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations concerning

the actions of the other individually named Defendants.

       5.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 5 of the Complaint, except denies that Defendant Hoffman

ever engaged in sex or race based harassment, discrimination, or retaliation.

       6.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 6 of the Complaint.

       7.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 7 of the Complaint.

       8.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 8 of the Complaint.

       9.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 9 of the Complaint.

       10.      Paragraph 10 of the Complaint does not contain factual averments, thus no

response is required. To the extent a response is required, Defendant denies the allegations in

Paragraph 10 of the Complaint.

       11.     Defendant denies the allegations in paragraph 11 of the Complaint.

       12.     Defendant denies the allegations in paragraph 12 of the Complaint, except to

admit that, on one occasion, Plaintiff assisted Defendant with carrying files out to his car.

       13.     Defendant denies the allegations in paragraph 13 of the Complaint, except to

admit that on October 8, 2017 Plaintiff sent Defendant an email, which email speaks for itself,

and that Defendant later told Plaintiff she was, disrespectful, and disdainful.




                                                  2
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 3 of 73



       14.     Defendant denies the allegations in paragraph 14 of the Complaint.

       15.     Defendant denies the allegations in paragraph 15 of the Complaint.

       16.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 16 of the Complaint.

       17.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 17 of the Complaint.

       18.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 18 of the Complaint.

       19.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 19 of the Complaint.

       20.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 20 of the Complaint.

       21.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 21 of the Complaint.

       22.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 22 of the Complaint.

       23.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 23 of the Complaint.

       24.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 24 of the Complaint.

       25.     Defendant denies the allegations in paragraph 25 of the Complaint.

       26.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 26 of the Complaint.




                                                3
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 4 of 73



       27.     Defendant denies the allegations in paragraph 27 of the Complaint.

       28.     Paragraph 28 of the Complaint states no factual averments and as such no

responsive pleading is required. To the extent a response is required, the allegations are denied.

       29.     Paragraph 29 of the Complaint states no factual averments and as such no

responsive pleading is required. To the extent a response is required, the allegations are denied.

       30.     Defendant denies the allegations in paragraph 30 of the Complaint.

       31.      Paragraph 31 of the Complaint states conclusions of law to which no responsive

pleading is required. To the extent a response is required, the allegations are denied, except to

admit that Plaintiff purports to assert claims under the statutes cited therein.

       32.     Paragraph 32 of the Complaint states conclusions of law to which no responsive

pleading is required. To the extent a response is required, the allegations are denied.

       33.     Paragraph 33 of the Complaint states conclusions of law to which no responsive

pleading is required. To the extent a response is required, the allegations are denied.

       34.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 34 of the Complaint.

       35.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 35 of the Complaint concerning Plaintiff’s age, except to

admit that Plaintiff is a female attorney.

       36.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 36 of the Complaint, except to admit that the Plaintiff has a

dark complexion.

       37.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 37 of the Complaint.




                                                  4
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 5 of 73



       38.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 38 of the Complaint.

       39.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 39 of the Complaint.

       40.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 40 of the Complaint.

       41.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 41 of the Complaint.

       42.     Defendant denies the allegations in paragraph 42 of the Complaint.

       43.     Defendant admits the allegations in paragraph 43 of the Complaint.

       44.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 44 of the Complaint, except to admit that the individually

named Defendants are public officials.

       45.     Defendant denies the allegations in paragraph 45 of the Complaint, except to

admit on information and belief, that at some point in time each Defendant was employed by the

State of New York.

       46.     Defendant denies the allegations in paragraph 46 of the complaint, except to

admit that Defendant is an Acting Justice serving in the Matrimonial Division of New York

Supreme Court, that he has been a New York State judge since 1996, and that he was the

supervising judge of Family Court in Manhattan from 2009 to 2016.

       47.     Defendant denies the allegations in paragraph 47 of the Complaint, except to

admit that Plaintiff’s work area was located in Defendant’s chambers at 111 Centre Street, that

the chambers consists of Defendant’s office, Plaintiff’s separate work area, a private bathroom,




                                                 5
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 6 of 73



and that the chambers unit was located on a different floor of the building from the courtroom

and the rest of Defendant’s staff.

       48.     Defendant denies the allegations in paragraph 48 of the Complaint.

       49.     Defendant denies the allegations in paragraph 49 of the Complaint.

       50.     Defendant denies the allegations in paragraph 50 of the Complaint.

       51.     Defendant denies the allegations in paragraph 51 of the Complaint.

       52.     Defendant denies the allegations in paragraph 52 of the Complaint.

       53.     Defendant denies the allegations in paragraph 53 of the Complaint.

       54.     Defendant denies the allegations in paragraph 54 of the Complaint.

       55.     Defendant denies the allegations in paragraph 55 of the Complaint.

       56.     Defendant denies the allegations in paragraph 56 of the Complaint.

       57.     Defendant denies the allegations in paragraph 57 of the Complaint.

       58.     Defendant denies the allegations in paragraph 58 of the Complaint.

       59.     Defendant denies the allegations in paragraph 59 of the Complaint.

       60.     Defendant denies the allegations in paragraph 60 of the Complaint.

       61.     Defendant denies the allegations in paragraph 61 of the Complaint.

       62.     Defendant denies the allegations in paragraph 62 of the Complaint.

       63.     Defendant denies the allegations in paragraph 63 of the Complaint.

       64.     Defendant denies the allegations in paragraph 64 of the Complaint.

       65.     Defendant denies the allegations in paragraph 65 of the Complaint.

       66.     Defendant denies the allegations in paragraph 66 of the Complaint.

       67.     Defendant denies the allegations in paragraph 67 of the Complaint.

       68.     Defendant denies the allegations in paragraph 68 of the Complaint.




                                                6
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 7 of 73



       69.     Defendant denies the allegations in paragraph 69 of the Complaint.

       70.     Defendant denies the allegations in paragraph 70 of the Complaint.

       71.     Defendant denies the allegations in paragraph 71 of the Complaint.

       72.     Defendant denies the allegations in paragraph 72 of the Complaint.

       73.     Defendant denies the allegations in paragraph 73 of the Complaint.

       74.     Defendant denies the allegations in paragraph 74 of the Complaint.

       75.     Defendant denies the allegations in paragraph 75 of the Complaint.

       76.     Defendant denies the allegations in paragraph 76 of the Complaint.

       77.     Defendant denies the allegations in paragraph 77 of the Complaint.

       78.     Defendant denies the allegations in paragraph 78 of the Complaint.

       79.     Defendant denies the allegations in paragraph 79 of the Complaint.

       80.     Defendant denies the allegations in paragraph 80 of the Complaint.

       81.     Defendant denies the allegations in paragraph 81 of the Complaint.

       82.     Defendant denies the allegations in paragraph 82 of the Complaint.

       83.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 83 of the Complaint.

       84.     Defendant denies the allegations in paragraph 84 of the Complaint.

       85.     Defendant denies the allegations in paragraph 85 of the Complaint, except to

admit that Defendant told Plaintiff not to attend a Matrimonial Division meeting at lunch on the

day she was terminated.

       86.     Defendant denies the allegations in paragraph 86 of the Complaint.

       87.     Defendant denies the allegations in paragraph 87 of the Complaint.

       88.     Defendant denies the allegations in paragraph 88 of the Complaint.




                                                7
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 8 of 73



       89.     Defendant denies the allegations in paragraph 89 of the Complaint.

       90.     Defendant denies the allegations in paragraph 90 of the Complaint.

       91.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 91 of the Complaint.

       92.     Defendant denies the allegations in paragraph 92 of the Complaint, except to

admit that Defendant sent an email to Plaintiff’s personal email address on October 8, 2017,

which email speaks for itself.

       93.     Defendant admits the allegations in paragraph 93 of the Complaint.

       94.     Defendant denies the allegations in paragraph 94 of the Complaint, except to

admit Defendant did not send a written reply.

       95.     Defendant denies the allegations in paragraph 95 of the Complaint.

       96.     Defendant denies the allegations in paragraph 96 of the Complaint.

       97.     Defendant denies the allegations in paragraph 97 of the Complaint, except to

admit that Defendant told Plaintiff that her email was extremely rude, that it was very

disrespectful, and that she was disdainful.

       98.     Defendant denies the allegations in paragraph 98 of the Complaint.

       99.     Defendant denies the allegations in paragraph 99 of the Complaint, except to

admit Defendant told Plaintiff it would have been better to discuss this in person.

       100.    Defendant denies the allegations in paragraph 100 of the Complaint.

       101.    Defendant admits the allegations in paragraph 101 of the Complaint.

       102.    Defendant denies the allegations in paragraph 102 of the Complaint, except to

admit that Defendant emailed Plaintiff on her personal email address because he thought it was




                                                 8
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 9 of 73



something a new employee would appreciate after handing in an assignment to their new

employer.

       103.    Defendant admits the allegations in paragraph 103 of the Complaint.

       104.    Defendant denies the allegations in paragraph 104 of the Complaint.

       105.    Defendant denies the allegations in paragraph 105 of the Complaint.

       106.    Defendant denies the allegations in paragraph 106 of the Complaint.

       107.    Defendant admits the allegations in paragraph 107 of the Complaint.

       108.    Defendant denies the allegations in paragraph 108 based on Defendant’s present

recollection of the events in question, except to admit that Defendant told Plaintiff “this may not

work out”.

       109.    Defendant denies the allegations in paragraph 109 of the Complaint.

       110.    Defendant admits the allegations in paragraph 110 of the Complaint.

       111.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 111 of the Complaint.

       112.    Defendant denies the allegations in paragraph 112 of the Complaint.

       113.    Defendant denies the allegations in paragraph 113 of the Complaint.

       114.    Defendant denies the allegations in paragraph 114 of the Complaint.

       115.    Defendant denies the allegations in paragraph 115 of the Complaint.

       116.    Defendant denies the allegations in paragraph 116 of the Complaint.

       117.    Defendant denies the allegations in paragraph 117 of the Complaint.

       118.    Defendant denies the allegations in paragraph 118 of the Complaint.

       119.    Defendant denies the allegations in paragraph 119 of the Complaint.




                                                 9
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 10 of 73



       120.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 120 of the Complaint.

       121.    Defendant denies the allegations in paragraph 121 of the Complaint, except to

admit that the atmosphere in chambers was tense following the October 10, 2017 conversation

between Plaintiff and Defendant.

       122.    Defendant admits the allegations in paragraph 122 of the Complaint.

       123.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 123 of the Complaint.

       124.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 124 of the Complaint.

       125.    Defendant denies the allegations in paragraph 125 of the Complaint, except to

admit that on Wednesday, October 18, 2017 Defendant told Plaintiff he wanted to speak to her at

4:30pm that day.

       126.    Defendant denies the allegations in paragraph 126 of the Complaint, except to

admit that Defendant entered Plaintiff’s work area, closed the door to his own chambers, told

Plaintiff not to attend a Matrimonial Division meeting at lunch, and that Plaintiff should finish all

of her outstanding work when she returned from lunch.

       127.    Defendant denies the allegations in paragraph 127 of the Complaint.

       128.    Defendant denies the allegations in paragraph 128 of the Complaint, except to

admit that at approximately 4:30P.M. on October 18, 2017 Defendant spoke to Plaintiff.

       129.    Defendant admits the allegations in paragraph 129 of the Complaint.

       130.    Defendant admits the allegations in paragraph 130 of the Complaint.




                                                 10
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 11 of 73



       131.    Defendant denies the allegations in paragraph 131 of the Complaint, except to

admit that Defendant told Plaintiff that her October 8th email had been rude and disrespectful,

and that her behavior was rude, disdainful, and disrespectful.

       132.    Defendant denies the allegations in paragraph 132 of the Complaint, except to

admit that Plaintiff had failed to send out a copy of a decision.

       133.    Defendant denies the allegations in paragraph 133 of the Complaint based on

Defendant’s present recollection of the events in question, except to admit that Defendant told

Plaintiff it was not “what” she said but “how” she said it that was problematic.

       134.    Defendant admits the allegations in paragraph 134 of the Complaint.

       135.    Defendant denies the allegations in paragraph 135 of the Complaint based on

Defendant’s present recollection of the events in question.

       136.    Defendant denies the allegations in paragraph 136 of the Complaint.

       137.    Defendant admits the allegations in paragraph 137 of the Complaint.

       138.    Defendant denies the allegations in paragraph 138 of the Complaint.

       139.    Defendant denies the allegations in paragraph 139 of the Complaint, except to

admit that Defendant told Plaintiff that he had the right to fire her immediately and to have the

court officer escort her out of the building, but that he would not do that.

       140.    Defendant denies the allegations in paragraph 140 of the Complaint.

       141.    Defendant denies the allegations in paragraph 141 of the Complaint based on

Defendant’s present recollection of the events in question.

       142.    Defendant denies the allegations in paragraph 142 of the Complaint based on

Defendant’s present recollection of the events in question.

       143.    Defendant admits the allegations in paragraph 143 of the Complaint.




                                                 11
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 12 of 73



       144.    Defendant admits the allegations in paragraph 144 of the Complaint.

       145.    Defendant denies the allegations in paragraph 145 of the Complaint.

       146.    Defendant denies the allegations in paragraph 146 of the Complaint.

       147.    Defendant denies the allegations in paragraph 147 of the Complaint.

       148.    Defendant denies the allegations in paragraph 148 of the Complaint.

       149.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 149 of the Complaint.

       150.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 150 of the Complaint.

       151.    Defendant denies the allegations in paragraph 151 of the Complaint, except to

admit that following Plaintiff’s termination on October 18, 2017 Defendant inquired if Plaintiff

would cease coming into chambers or if she would—as Defendant had offered—continue to

work for a period of time until she found other work.

       152.    Defendant denies the allegations in paragraph 152 of the Complaint.

       153.    Defendant denies the allegations in paragraph 153 of the Complaint based on

Defendant’s present recollection of the events in question.

       154.    Defendant denies the allegations in paragraph 154 of the Complaint based on

Defendant’s present recollection of the events in question.

       155.    Defendant denies the allegations in paragraph 155 of the Complaint based on

Defendant’s present recollection of the events in question.

       156.    Defendant denies the allegations in paragraph 156 of the Complaint.

       157.    Defendant denies the allegations in paragraph 157 of the Complaint.




                                                12
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 13 of 73



       158.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 158 of the Complaint.

       159.    Defendant denies the allegations in paragraph 159 of the Complaint, except to

admit that Plaintiff emailed Defendant on October 20, 2017, which email speaks for itself.

       160.    Defendant denies the allegations in paragraph 160 of the Complaint, except to

admit that Plaintiff emailed Defendant on October 23, 2017, which email speaks for itself.

       161.    Defendant admits the allegations in paragraph 161 of the Complaint.

       162.    Defendant admits the allegations in paragraph 162 of the Complaint.

       163.    Defendant denies the allegations in paragraph 163 of the Complaint.

       164.    Defendant denies the allegations in paragraph 164 of the Complaint.

       165.    Defendant denies the allegations in paragraph 165 of the Complaint.

       166.    Defendant denies the allegations in paragraph 166 of the Complaint.

       167.    Defendant denies the allegations in paragraph 167 of the Complaint.

       168.    Defendant denies the allegations in paragraph 168 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning statements made by Defendant’s former court attorney.

       169.    Defendant denies the allegations in paragraph 169 of the Complaint.

       170.    Defendant denies the allegations in paragraph 170 of the Complaint based on

Defendant’s present recollection of the events in question, except to admit that he had been

appointed to the Supreme Court with a mandate to clear a case backlog and that he stated “I’ve

reformed whole court systems”.

       171.    Defendant denies the allegations in paragraph 171 of the Complaint.

       172.    Defendant denies the allegations in paragraph 172 of the Complaint.




                                                13
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 14 of 73



         173.   Defendant denies the allegations in paragraph 173 of the Complaint.

         174.   Defendant denies the allegations in paragraph 174 of the Complaint.

         175.   Defendant denies the allegations in paragraph 175 of the Complaint, except to

admit that, prior to the October 8th email, Defendant had not complained about Plaintiff being

rude.

         176.   Defendant denies the allegations in paragraph 176 of the Complaint, except to

admit upon information and belief that Plaintiff purchased a mail cart for chambers from her own

funds.

         177.   Defendant denies the allegations in paragraph 177 of the Complaint.

         178.   Defendant denies the allegations in paragraph 178 of the Complaint.

         179.   Defendant denies the allegations in paragraph 179 of the Complaint.

         180.   Defendant denies the allegations in paragraph 180 of the Complaint.

         181.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 181 of the Complaint, except to admit that Saliann Scarpulla

is an elected justice serving in the Commercial Division of New York Supreme Court.

         182.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 182 of the Complaint.

         183.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 183 of the Complaint.

         184.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 184 of the Complaint.

         185.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 185 of the Complaint.




                                                14
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 15 of 73



       186.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 186 of the Complaint.

       187.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 187 of the Complaint.

       188.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 188 of the Complaint.

       189.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 189 of the Complaint.

       190.    Defendant denies the allegations in paragraph 190 of the Complaint.

       191.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 191 of the Complaint.

       192.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 192 of the Complaint.

       193.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 193 of the Complaint.

       194.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 194 of the Complaint.

       195.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 195 of the Complaint.

       196.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 196 of the Complaint.

       197.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 197 of the Complaint.




                                                15
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 16 of 73



       198.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 198 of the Complaint.

       199.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 199 of the Complaint.

       200.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 200 of the Complaint.

       201.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 201 of the Complaint.

       202.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 202 of the Complaint.

       203.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 203 of the Complaint.

       204.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 204 of the Complaint.

       205.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 205 of the Complaint.

       206.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 206 of the Complaint.

       207.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 207 of the Complaint.

       208.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 208 of the Complaint.




                                                16
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 17 of 73



       209.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 209 of the Complaint.

       210.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 210 of the Complaint.

       211.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 211 of the Complaint.

       212.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 212 of the Complaint.

       213.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 213 of the Complaint.

       214.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 214 of the Complaint.

       215.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 215 of the Complaint.

       216.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 216 of the Complaint.

       217.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 217 of the Complaint.

       218.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 218 of the Complaint.

       219.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 219 of the Complaint.




                                                17
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 18 of 73



       220.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 220 of the Complaint.

       221.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 221 of the Complaint.

       222.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 222 of the Complaint.

       223.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 223 of the Complaint.

       224.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 224 of the Complaint.

       225.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 225 of the Complaint.

       226.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 226 of the Complaint.

       227.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 227 of the Complaint.

       228.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 228 of the Complaint.

       229.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 229 of the Complaint.

       230.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 230 of the Complaint.




                                                18
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 19 of 73



       231.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 231 of the Complaint.

       232.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 232 of the Complaint.

       233.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 233 of the Complaint.

       234.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 234 of the Complaint.

       235.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 235 of the Complaint.

       236.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 236 of the Complaint, except to admit that George Silver is

the Deputy Chief Administrative Judge for New York City Courts.

       237.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 237 of the Complaint.

       238.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 238 of the Complaint.

       239.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 239 of the Complaint, except to admit that George Silver

engaged in conversation with Defendant about Plaintiff’s employment.

       240.    Defendant denies the allegations in paragraph 240 of the Complaint.




                                                19
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 20 of 73



       241.    Defendant denies the allegations in paragraph 241 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       242.    Defendant denies the allegations in paragraph 242 of the Complaint.

       243.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 243 of the Complaint.

       244.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 244 of the Complaint.

       245.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 245 of the Complaint.

       246.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 246 of the Complaint.

       247.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 247 of the Complaint.

       248.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 248 of the Complaint.

       249.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 249 of the Complaint.

       250.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 250 of the Complaint.

       251.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 251 of the Complaint.




                                                20
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 21 of 73



       252.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 252 of the Complaint.

       253.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 253 of the Complaint.

       254.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 254 of the Complaint.

       255.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 255 of the Complaint.

       256.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 256 of the Complaint.

       257.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 257 of the Complaint.

       258.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 258 of the Complaint.

       259.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 259 of the Complaint.

       260.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 260 of the Complaint.

       261.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 261 of the Complaint.

       262.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 262 of the Complaint.




                                                21
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 22 of 73



       263.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 263 of the Complaint.

       264.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 264 of the Complaint.

       265.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 265 of the Complaint.

       266.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 266 of the Complaint.

       267.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 267 of the Complaint.

       268.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 268 of the Complaint.

       269.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 269 of the Complaint.

       270.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 270 of the Complaint.

       271.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 271 of the Complaint.

       272.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 272 of the Complaint.

       273.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 273 of the Complaint.




                                                22
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 23 of 73



       274.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 274 of the Complaint.

       275.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 275 of the Complaint.

       276.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 276 of the Complaint.

       277.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 277 of the Complaint.

       278.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 278 of the Complaint.

       279.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 279 of the Complaint.

       280.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 280 of the Complaint.

       281.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 281 of the Complaint.

       282.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 282 of the Complaint.

       283.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 283 of the Complaint.

       284.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 284 of the Complaint.




                                                23
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 24 of 73



       285.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 285 of the Complaint.

       286.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 286 of the Complaint.

       287.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 287 of the Complaint.

       288.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 288 of the Complaint.

       289.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 289 of the Complaint.

       290.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 290 of the Complaint.

       291.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 291 of the Complaint.

       292.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 292 of the Complaint.

       293.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 293 of the Complaint.

       294.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 294 of the Complaint.

       295.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 295 of the Complaint.




                                                24
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 25 of 73



       296.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 296 of the Complaint.

       297.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 297 of the Complaint.

       298.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 298 of the Complaint.

       299.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 299 of the Complaint.

       300.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 300 of the Complaint.

       301.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 301 of the Complaint.

       302.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 302 of the Complaint.

       303.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 303 of the Complaint.

       304.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 304 of the Complaint.

       305.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 305 of the Complaint.

       306.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 306 of the Complaint.




                                                25
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 26 of 73



       307.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 307 of the Complaint.

       308.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 308 of the Complaint.

       309.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 309 of the Complaint.

       310.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 310 of the Complaint.

       311.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 311 of the Complaint.

       312.    Defendant denies the allegations in paragraph 312 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.

       313.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 313 of the Complaint.

       314.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 314 of the Complaint.

       315.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 315 of the Complaint.

       316.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 316 of the Complaint.




                                                26
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 27 of 73



       317.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 317 of the Complaint.

       318.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 318 of the Complaint.

       319.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 319 of the Complaint.

       320.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 320 of the Complaint.

       321.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 321 of the Complaint.

       322.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 322 of the Complaint.

       323.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 323 of the Complaint.

       324.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 324 of the Complaint.

       325.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 325 of the Complaint.

       326.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 326 of the Complaint.

       327.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 327 of the Complaint.




                                                27
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 28 of 73



       328.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 328 of the Complaint.

       329.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 329 of the Complaint.

       330.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 330 of the Complaint.

       331.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 331 of the Complaint.

       332.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 332 of the Complaint.

       333.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 333 of the Complaint.

       334.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 334 of the Complaint.

       335.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 335 of the Complaint.

       336.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 336 of the Complaint.

       337.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 337 of the Complaint.

       338.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 338 of the Complaint.




                                                28
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 29 of 73



       339.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 339 of the Complaint.

       340.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 340 of the Complaint.

       341.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 341 of the Complaint.

       342.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 342 of the Complaint.

       343.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 343 of the Complaint.

       344.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 344 of the Complaint.

       345.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 345 of the Complaint.

       346.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 346 of the Complaint.

       347.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 347 of the Complaint.

       348.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 348 of the Complaint.

       349.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 349 of the Complaint.




                                                29
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 30 of 73



       350.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 350 of the Complaint.

       351.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 351 of the Complaint.

       352.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 352 of the Complaint.

       353.    Defendant admits the allegations in paragraph 353 of the Complaint.

       354.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 354 of the Complaint.

       355.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 355 of the Complaint.

       356.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 356 of the Complaint.

       357.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 357 of the Complaint.

       358.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 358 of the Complaint.

       359.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 359 of the Complaint.

       360.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 360 of the Complaint.

       361.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 361 of the Complaint.




                                                30
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 31 of 73



       362.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 362 of the Complaint, except to deny that there was no

investigation of Plaintiff’s complaints.

       363.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 363 of the Complaint.

       364.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 364 of the Complaint.

       365.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 365 of the Complaint.

       366.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 366 of the Complaint.

       367.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 367 of the Complaint.

       368.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 368 of the Complaint.

       369.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 369 of the Complaint.

       370.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 370 of the Complaint.

       371.    Defendant denies the allegations in paragraph 371 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.




                                                31
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 32 of 73



       372.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 372 of the Complaint.

       373.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 373 of the Complaint.

       374.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 374 of the Complaint.

       375.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 375 of the Complaint.

       376.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 376 of the Complaint.

       377.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 377 of the Complaint.

       378.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 378 of the Complaint.

       379.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 379 of the Complaint.

       380.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 380 of the Complaint.

       381.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 381 of the Complaint.

       382.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 382 of the Complaint.




                                                32
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 33 of 73



       383.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 383 of the Complaint.

       384.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 384 of the Complaint.

       385.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 385 of the Complaint.

       386.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 386 of the Complaint.

       387.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 387 of the Complaint.

       388.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 388 of the Complaint.

       389.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 389 of the Complaint.

       390.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 390 of the Complaint.

       391.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 391 of the Complaint.

       392.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 392 of the Complaint.

       393.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 393 of the Complaint.




                                                33
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 34 of 73



       394.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 394 of the Complaint.

       395.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 395 of the Complaint.

       396.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 396 of the Complaint.

       397.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 397 of the Complaint.

       398.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 398 of the Complaint.

       399.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 399 of the Complaint.

       400.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 400 of the Complaint.

       401.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 401 of the Complaint.

       402.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 402 of the Complaint.

       403.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 403 of the Complaint.

       404.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 404 of the Complaint.




                                                34
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 35 of 73



       405.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 405 of the Complaint.

       406.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 406 of the Complaint.

       407.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 407 of the Complaint.

       408.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 408 of the Complaint.

       409.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 409 of the Complaint.

       410.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 410 of the Complaint.

       411.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 411 of the Complaint.

       412.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 412 of the Complaint.

       413.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 413 of the Complaint.

       414.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 414 of the Complaint.

       415.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 415 of the Complaint.




                                                35
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 36 of 73



       416.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 416 of the Complaint.

       417.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 417 of the Complaint.

       418.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 418 of the Complaint.

       419.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 419 of the Complaint.

       420.    Defendant denies the allegations in paragraph 420 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.

       421.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 421 of the Complaint.

       422.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 422 of the Complaint.

       423.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 423 of the Complaint.

       424.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 424 of the Complaint.

       425.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 425 of the Complaint.




                                                36
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 37 of 73



       426.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 426 of the Complaint.

       427.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 427 of the Complaint.

       428.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 428 of the Complaint.

       429.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 429 of the Complaint.

       430.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 430 of the Complaint.

       431.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 431 of the Complaint.

       432.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 432 of the Complaint.

       433.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 433 of the Complaint.

       434.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 434 of the Complaint.

       435.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 435 of the Complaint.

       436.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 436 of the Complaint.




                                                37
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 38 of 73



       437.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 437 of the Complaint.

       438.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 438 of the Complaint.

       439.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 439 of the Complaint.

       440.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 440 of the Complaint.

       441.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 441 of the Complaint.

       442.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 442 of the Complaint.

       443.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 443 of the Complaint.

       444.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 444 of the Complaint.

       445.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 445 of the Complaint.

       446.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 446 of the Complaint.

       447.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 447 of the Complaint.




                                                38
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 39 of 73



       448.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 448 of the Complaint.

       449.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 449 of the Complaint.

       450.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 450 of the Complaint, except to admit that John McConnell

is Counsel to the New York State Court System.

       451.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 451 of the Complaint.

       452.    Defendant denies the allegations in paragraph 452 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.

       453.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 453 of the Complaint.

       454.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 454 of the Complaint.

       455.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 455 of the Complaint.

       456.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 456 of the Complaint.

       457.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 457 of the Complaint.




                                                39
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 40 of 73



       458.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 458 of the Complaint.

       459.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 459 of the Complaint.

       460.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 460 of the Complaint.

       461.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 461 of the Complaint.

       462.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 462 of the Complaint.

       463.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 463 of the Complaint.

       464.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 464 of the Complaint.

       465.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 465 of the Complaint.

       466.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 466 of the Complaint.

       467.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 467 of the Complaint.

       468.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 468 of the Complaint.




                                                40
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 41 of 73



       469.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 469 of the Complaint, except to admit that Lawrence Marks

is the Chief Administrative Judge of the New York State court system.

       470.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 470 of the Complaint.

       471.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 471 of the Complaint.

       472.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 472 of the Complaint.

       473.    Defendant denies the allegations in paragraph 473 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.

       474.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 474 of the Complaint.

       475.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 475 of the Complaint.

       476.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 476 of the Complaint.

       477.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 477 of the Complaint.

       478.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 478 of the Complaint.




                                                41
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 42 of 73



       479.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 479 of the Complaint.

       480.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 480 of the Complaint.

       481.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 481 of the Complaint.

       482.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 482 of the Complaint.

       483.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 483 of the Complaint.

       484.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 484 of the Complaint.

       485.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 485 of the Complaint.

       486.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 486 of the Complaint.

       487.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 487 of the Complaint.

       488.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 488 of the Complaint.

       489.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 489 of the Complaint.




                                                42
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 43 of 73



       490.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 490 of the Complaint.

       491.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 491 of the Complaint, except to admit that Janet DiFiore is

the Chief Judge of the State of New York.

       492.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 492 of the Complaint.

       493.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 493 of the Complaint.

       494.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 494 of the Complaint.

       495.    Defendant denies the allegations in paragraph 495 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.

       496.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 496 of the Complaint.

       497.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 497 of the Complaint.

       498.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 498 of the Complaint.

       499.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 499 of the Complaint.




                                                43
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 44 of 73



       500.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 500 of the Complaint.

       501.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 501 of the Complaint.

       502.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 502 of the Complaint.

       503.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 503 of the Complaint.

       504.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 504 of the Complaint.

       505.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 505 of the Complaint.

       506.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 506 of the Complaint.

       507.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 507 of the Complaint.

       508.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 508 of the Complaint.

       509.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 509 of the Complaint.

       510.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 510 of the Complaint.




                                                44
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 45 of 73



       511.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 511 of the Complaint.

       512.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 512 of the Complaint.

       513.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 513 of the Complaint.

       514.    Defendant admits the allegations in paragraph 514 of the Complaint.

       515.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 515 of the Complaint.

       516.    Defendant denies the allegations in paragraph 516 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning how long Plaintiff had been out of work, or as to the allegations concerning the

actions of the other individually named Defendants.

       517.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 517 of the Complaint.

       518.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 518 of the Complaint.

       519.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 519 of the Complaint.

       520.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 520 of the Complaint.

       521.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 521 of the Complaint.




                                                45
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 46 of 73



       522.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 522 of the Complaint.

       523.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 523 of the Complaint.

       524.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 524 of the Complaint.

       525.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 525 of the Complaint.

       526.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 526 of the Complaint.

       527.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 527 of the Complaint.

       528.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 528 of the Complaint.

       529.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 529 of the Complaint.

       530.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 530 of the Complaint.

       531.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 531 of the Complaint, except to admit that Lori Sattler is an

elected Justice serving in the Matrimonial Division of New York Supreme Court.

       532.    Defendant admits the allegations in paragraph 532 of the Complaint.

       533.    Defendant denies the allegations in paragraph 533 of the Complaint.




                                                46
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 47 of 73



       534.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 534 of the Complaint.

       535.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 535 of the Complaint.

       536.    Defendant denies the allegations in paragraph 536 of the Complaint.

       537.    Defendant denies the allegations in paragraph 537 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning what action Judge Sattler did or did not take after allegedly receiving a complaint

about Defendant Hoffman.

       538.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 538 of the Complaint.

       539.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 539 of the Complaint.

       540.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 540 of the Complaint.

       541.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 541 of the Complaint.

       542.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 542 of the Complaint.

       543.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 543 of the Complaint.

       544.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 544 of the Complaint.




                                                47
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 48 of 73



       545.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 545 of the Complaint.

       546.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 546 of the Complaint.

       547.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 547 of the Complaint.

       548.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 548 of the Complaint.

       549.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 549 of the Complaint.

       550.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 550 of the Complaint.

       551.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 551 of the Complaint.

       552.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 552 of the Complaint.

       553.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 553 of the Complaint.

       554.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 554 of the Complaint.

       555.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 555 of the Complaint.




                                                48
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 49 of 73



       556.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 556 of the Complaint.

       557.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 557 of the Complaint.

       558.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 558 of the Complaint.

       559.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 559 of the Complaint.

       560.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 560 of the Complaint.

       561.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 561 of the Complaint.

       562.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 562 of the Complaint.

       563.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 563 of the Complaint.

       564.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 564 of the Complaint.

       565.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 565 of the Complaint.

       566.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 566 of the Complaint.




                                                49
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 50 of 73



       567.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 567 of the Complaint.

       568.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 568 of the Complaint.

       569.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 569 of the Complaint.

       570.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 570 of the Complaint.

       571.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 571 of the Complaint.

       572.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 572 of the Complaint.

       573.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 573 of the Complaint.

       574.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 574 of the Complaint.

       575.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 575 of the Complaint.

       576.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 576 of the Complaint.

       577.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 577 of the Complaint.




                                                50
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 51 of 73



       578.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 578 of the Complaint.

       579.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 579 of the Complaint.

       580.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 580 of the Complaint.

       581.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 581 of the Complaint.

       582.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 582 of the Complaint.

       583.    Defendant denies the allegations in paragraph 583 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       584.    Defendant denies the allegations in paragraph 584 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       585.    Defendant denies the allegations in paragraph 585 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       586.    Defendant denies the allegations in paragraph 586 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.




                                                51
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 52 of 73



       587.    Defendant denies the allegations in paragraph 587 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       588.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 588 of the Complaint.

       589.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 589 of the Complaint.

       590.    Defendant denies the allegations in paragraph 590 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       591.    Defendant denies the allegations in paragraph 591 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       592.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 592 of the Complaint.

       593.    Defendant denies the allegations in paragraph 593 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       594.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 594 of the Complaint.

       595.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 595 of the Complaint.




                                                52
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 53 of 73



       596.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 596 of the Complaint.

       597.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 597 of the Complaint.

       598.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 598 of the Complaint.

       599.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 599 of the Complaint.

       600.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 600 of the Complaint.

       601.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 601 of the Complaint.

       602.    Defendant denies the allegations in paragraph 602 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       603.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 603 of the Complaint.

       604.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 604 of the Complaint.

       605.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 605 of the Complaint.

       606.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 606 of the Complaint.




                                                53
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 54 of 73



       607.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 607 of the Complaint.

       608.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 608 of the Complaint.

       609.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 609 of the Complaint.

       610.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 610 of the Complaint.

       611.    Defendant denies the allegations in paragraph 611 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       612.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 612 of the Complaint.

       613.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 613 of the Complaint.

       614.    Defendant denies the allegations in paragraph 614 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       615.    Defendant denies the allegations in paragraph 615 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       616.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 616 of the Complaint.




                                                54
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 55 of 73



       617.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 617 of the Complaint.

       618.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 618 of the Complaint, except to admit that Defendant

Hoffman did not post Plaintiff’s job opening publicly.

       619.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 619 of the Complaint.

       620.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 620 of the Complaint.

       621.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 621 of the Complaint.

       622.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 622 of the Complaint.

       623.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 623 of the Complaint.

       624.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 624 of the Complaint.

       625.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 625 of the Complaint.

       626.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 626 of the Complaint.

       627.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 627 of the Complaint.




                                                55
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 56 of 73



       628.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 628 of the Complaint.

       629.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 629 of the Complaint.

       630.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 630 of the Complaint.

       631.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 631 of the Complaint.

       632.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 632 of the Complaint.

       633.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 633 of the Complaint.

       634.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 634 of the Complaint.

       635.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 635 of the Complaint.

       636.    Defendant denies the allegations in paragraph 636 of the Complaint.

       637.    Defendant denies the allegations in paragraph 637 of the Complaint.

       638.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 638 of the Complaint.

       639.    Defendant denies the allegations in paragraph 639 of the Complaint.




                                                56
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 57 of 73



       640.    Defendant denies the allegations in paragraph 640 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       641.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 641 of the Complaint.

       642.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 642 of the Complaint.

       643.    Defendant denies the allegations in paragraph 643 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       644.    Defendant denies the allegations in paragraph 644 of the Complaint.

       645.    Defendant denies the allegations in paragraph 645 of the Complaint.

       646.    Defendant denies the allegations in paragraph 646 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       647.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 647 of the Complaint.

       648.    Defendant denies the allegations in paragraph 648 of the Complaint.

       649.    Defendant denies the allegations in paragraph 649 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       650.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 650 of the Complaint.




                                                57
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 58 of 73



       651.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 651 of the Complaint.

       652.    Defendant denies the allegations in paragraph 652 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       653.    Paragraph 653 of the Complaint states conclusions of law to which no responsive

pleading is required. To the extent a response is required, the allegations are denied.

       654.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 654 of the Complaint.

       655.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 655 of the Complaint.

       656.    Defendant denies the allegations in paragraph 656 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       657.    Defendant denies the allegations in paragraph 657 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       658.    Defendant denies the allegations in paragraph 658 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       659.    Defendant denies the allegations in paragraph 659 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.




                                                58
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 59 of 73



                                     AS TO COUNT ONE
                  (Retaliation in Violation of Equal Protection under § 1983)

       660.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       661.    Defendant denies the allegations in paragraph 661 of the Complaint.

       662.    Defendant denies the allegations in paragraph 662 of the Complaint.

       663.    Defendant denies the allegations in paragraph 663 of the Complaint.

       664.    Defendant denies the allegations in paragraph 664 of the Complaint.

       665.    Defendant denies the allegations in paragraph 665 of the Complaint.

                                 AS TO COUNT TWO
     (Conspiracy to Commit Retaliation in Violation of Equal Protection under § 1983)

       666.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       667.    Defendant denies the allegations in paragraph 667 of the Complaint.

       668.    Defendant denies the allegations in paragraph 668 of the Complaint.

       669.    Defendant denies the allegations in paragraph 669 of the Complaint.

                                AS TO COUNT THREE
      (Discrimination and Harassment in Violation of Equal Protection under § 1983)

       670.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       671.    Defendant denies the allegations in paragraph 671 of the Complaint.

       672.    Defendant denies the allegations in paragraph 672 of the Complaint

       673.    Defendant denies the allegations in paragraph 673 of the Complaint.




                                              59
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 60 of 73



       674.    Defendant denies the allegations in paragraph 674 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       675.    Defendant denies the allegations in paragraph 675 of the Complaint.

                                      AS TO COUNT FOUR
                             (Violation of Due Process under § 1983)

       676.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       677.    Paragraph 677, including subdivisions A, B, and C, of the Complaint states

conclusions of law to which no responsive pleading is required. To the extent a response is

required, the allegations are denied.

       678.    Defendant denies the allegations in paragraph 678 of the Complaint.

       679.    Defendant denies the allegations in paragraph 679 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       680.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 680 of the Complaint.

       681.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 681 of the Complaint.

       682.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 682 of the Complaint.

       683.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 683 of the Complaint concerning the actions of the other




                                                60
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 61 of 73



individually named Defendants, except to deny the allegations in paragraph 683 of the Complaint

with respect to Defendant Hoffman.

       684.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 684 of the Complaint concerning the actions of the other

individually named Defendants, except to deny the allegations in paragraph 684 of the Complaint

with respect to Defendant Hoffman.

                                     AS TO COUNT FIVE
                (Retaliation in Violation of the First Amendment under § 1983)

       685.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       686.    Defendant denies the allegations in paragraph 686 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       687.    Defendant denies the allegations in paragraph 687 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       688.    Defendant denies the allegations in paragraph 688 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

                                AS TO COUNT SIX
(Complaint Practices & Procedures in Violation of Equal Protection under the Fourteenth
                                     Amendment)

       689.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       690.    Defendant denies the allegations in paragraph 690 of the Complaint.



                                                61
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 62 of 73



       691.    Defendant denies the allegations in paragraph 691 of the Complaint.

       692.    Defendant admits that the Plaintiff purports to seek the injunctive relief contained

in the “WHEREFORE” clause of the Complaint.

                                  AS TO COUNT SEVEN
   (Hiring Practices in Violation of Equal Protection under the Fourteenth Amendment)

       693.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       694.    Defendant denies the allegations in paragraph 694 of the Complaint.

       695.    Defendant denies the allegations in paragraph 695 of the Complaint.

       696.    Defendant admits that the Plaintiff purports to seek the injunctive relief contained

in the “WHEREFORE” clause of the Complaint.

                                AS TO COUNT EIGHT
     (Sexual Harassment Policy in Violation of Equal Protection under the Fourteenth
                                      Amendment)
       697. Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       698.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 698 of the Complaint.

       699.    Defendant denies the allegations in paragraph 699 of the Complaint, except to

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning the actions of the other individually named Defendants.

       700.    Defendant admits that the Plaintiff purports to seek the injunctive relief contained

in the “WHEREFORE” clause of the Complaint.

                                     AS TO COUNT NINE
                              (Retaliation in Violation of Title VII)




                                                62
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 63 of 73



      701.     Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       702.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 702 of the Complaint.

       703.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 703 of the Complaint.

                                     AS TO COUNT TEN
                   (Discrimination and Harassment in Violation of Title VII)

       704.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       705.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 705 of the Complaint.

       706.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 706 of the Complaint.

                                   AS TO COUNT ELEVEN
                 (Violation of Article VI §28(c) of the New York Constitution)

       707.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       708.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 708 of the Complaint.

       709.    Defendant admits that the Plaintiff purports to seek the declaratory relief

contained in the “WHEREFORE” clause of the Complaint.

                                   AS TO COUNT TWELVE
                     (Retaliation in Violation of NYSHRL and NYCHRL)




                                                63
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 64 of 73



       710.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       711.    Defendant denies the allegations in paragraph 711 of the Complaint.

       712.    Defendant denies the allegations in paragraph 712 of the Complaint.

       713.    Defendant denies the allegations in paragraph 713 of the Complaint.

                              AS TO COUNT THIRTEEN
          (Harassment and Discrimination in violation of NYSHRL and NYCHRL)

       714.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       715.    Defendant denies the allegations in paragraph 715 of the Complaint.

       716.    Defendant denies the allegations in paragraph 716 of the Complaint.

       717.    Defendant denies the allegations in paragraph 717 of the Complaint.

                                 AS TO COUNT FOURTEEN
                             (Negligence and Negligent Supervision)

       718.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       719.    Paragraph 719 of the Complaint states conclusions of law to which no responsive

pleading is required. To the extent a response is required, the allegations are denied.

       720.    Defendant denies the allegations in paragraph 720 of the Complaint.

       721.    Defendant denies the allegations in paragraph 721 of the Complaint.

                                   AS TO COUNT FIFTEEN
                          (Intentional Infliction of Emotional Distress)

       722.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       723.    Defendant denies the allegations in paragraph 723 of the Complaint.



                                                64
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 65 of 73



       724.    Defendant denies knowledge or information sufficient to form a belief at to the

truth of the allegations in paragraph 724 of the Complaint.

       725.    Defendant denies the allegations in paragraph 725 of the Complaint.

                                    AS TO COUNT SIXTEEN
                                           (Fraud)

       726.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       727.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 727 of the Complaint.

       728.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 728 of the Complaint.

       729.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 729 of the Complaint.

                                  AS TO COUNT SEVENTEEN
                                    (Fraudulent Inducement)

       730.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       731.    Defendant denies the allegations in paragraph 731 of the Complaint.

       732.    Defendant denies the allegations in paragraph 732 of the Complaint.

       733.    Defendant denies the allegations in paragraph 733 of the Complaint.

                                   AS TO COUNT EIGHTEEN
                                    (Fraudulent Inducement)

       734.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       735.    Defendant denies the allegations in paragraph 735 of the Complaint.



                                                65
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 66 of 73



       736.    Defendant denies the allegations in paragraph 736 of the Complaint.

       737.    Defendant denies the allegations in paragraph 737 of the Complaint.

                                   AS TO COUNT NINETEEN
                                         (Defamation)

       738.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       739.    Defendant denies the allegations in paragraph 739 of the Complaint.

       740.    Defendant denies the allegations in paragraph 740 of the Complaint.

       741.    Defendant denies the allegations in paragraph 741 of the Complaint.

       742.    Defendant denies the allegations in paragraph 742 of the Complaint.

                                  AS TO COUNT TWENTY
                (Tortious Interference with Prospective Contractual Relations)

       743.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       744.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 744 of the Complaint.

       745.    Defendant denies the allegations in paragraph 745 of the Complaint.

       746.    Defendant denies the allegations in paragraph 746 of the Complaint.

                                AS TO COUNT TWENTY ONE
                         (Tortious Interference with Business Relations)

       747.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       748.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 748 of the Complaint.

       749.    Defendant denies the allegations in paragraph 749 of the Complaint.



                                                66
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 67 of 73



       750.    Defendant denies the allegations in paragraph 750 of the Complaint.

                             AS TO COUNT TWENTY TWO
              (Promissory Estoppel, Quantum Meruit, and Unjust Enrichment)

       751.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       752.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 752 of the Complaint.

       753.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 753 of the Complaint.

       754.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 754 of the Complaint.

       755.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 755 of the Complaint.

       756.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 756 of the Complaint.

       757.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 757 of the Complaint.

       758.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 758 of the Complaint.

       759.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 759 of the Complaint.

                               AS TO COUNT TWENTY THREE
                                       (Defamation)




                                                67
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 68 of 73



       760.    Defendant repeats and realleges each and every response made in the foregoing

paragraphs as if fully set forth herein.

       761.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 759 of the Complaint.

       762.    Defendant denies the allegations in paragraph 762, except to admit that an August

17, 2017 article in the New York Law Journal includes statements attributed to Lucian Chalfen,

which statements speak for themselves.

       763.    Defendant denies the allegations in paragraph 763, except to admit that an August

22, 2017 article in the New York Law Journal includes statements attributed to Lucian Chalfen,

which statements speak for themselves.

       764.    Defendant admits the allegations in paragraph 764.

       765.    Defendant denies the allegations in paragraph 765 of the Complaint.

       766.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 766 of the Complaint.

       767.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 767 of the Complaint.

       768.    Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 768 of the Complaint.

                        AS TO PLAINTIFF’S PRAYER FOR RELIEF

       769.    Defendant denies that Plaintiff is entitled to the relief sought in paragraphs 769

through paragraphs 785 following the “WHEREFORE” clause of the Complaint.

                                       GENERAL DENIAL




                                                68
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 69 of 73



        770.   Defendant denies each and every allegation in the Complaint not specifically

admitted herein. Defendant specifically denies engaging in any inappropriate conduct towards

Plaintiff.

                               FIRST AFFIRMATIVE DEFENSE

        771.   The Complaint and each and every allegation contained therein fails to state a

claim upon which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

        772.   Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of

limitation and/or filing periods, and/or by Plaintiff’s failure to satisfy administrative, procedural

and jurisdictional prerequisites for bringing suit.

                              THIRD AFFIRMATIVE DEFENSE

        773.   Plaintiff’s claims against Defendant are barred, in whole or in part, because

Defendant’s actions were performed as the discretionary functions of a Government Official, and

thus, he cannot be liable in any individual capacity due to Qualified Immunity.

                             FOURTH AFFIRMATIVE DEFENSE

        774.   Plaintiff’s Complaint is barred, in whole or in part, because Plaintiff was not

treated differently from similarly-situated employees.

                               FIFTH AFFIRMATIVE DEFENSE

        775.   Plaintiff’s claims are barred because at all relevant times Defendant acted in good

faith toward Plaintiff, and any actions taken toward Plaintiff were for legitimate, non-

discriminatory business reasons.




                                                  69
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 70 of 73



                              SIXTH AFFIRMATIVE DEFENSE

       776.    If, and to the extent that, any action taken with respect to Plaintiff was motivated

by an impermissible consideration, which Defendant expressly denies, Defendant would have

taken the same action for non-discriminatory reasons.

                            SEVENTH AFFIRMATIVE DEFENSE

       777.    Plaintiff's fraudulent inducement and breach of contract claims are barred because

at all times during Plaintiff’s employment, Plaintiff was an at-will employee.

                             EIGHTH AFFIRMATIVE DEFENSE

       778.    Plaintiff’s fraud claims are barred because Defendant made no promises, written

or oral, on which Plaintiff could detrimentally rely.

                              NINTH AFFIRMATIVE DEFENSE

       779.    Any statements of fact allegedly made by Defendant and complained of by

Plaintiff were true and were made without actual malice. As truth is an absolute defense to

defamation, Defendant cannot be held liable for Plaintiff’s defamation claims.

                              TENTH AFFIRMATIVE DEFENSE

       780.    Any statements allegedly made by Defendant and complained of by Plaintiff were

not defamatory, were made in good faith, without malice, and are covered by qualified privilege.

As such Defendant cannot be held liable for Plaintiff’s defamation claims.

                           ELEVENTH AFFIRMATIVE DEFENSE

       781.    Any statements allegedly made by Defendant and complained of by Plaintiff were

expressions of Defendant’s opinion. As such, Defendant cannot be held liable for Plaintiff’s

defamation claims.




                                                 70
     Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 71 of 73



                             TWELFTH AFFIRMATIVE DEFENSE

       782.      If, and to the extent that, any action taken with respect to Plaintiff was motivated

by Plaintiff’s engagement in protected activity, which Defendant expressly denies, Defendant

would have taken the same action for non-retaliatory reasons.

                           THIRTEENTH AFFIRMATIVE DEFENSE

       783.      Defendants’ liability and penalties, if any, should be mitigated by virtue of the

factors set forth in Section 8-107(13)(d) and (e) of the New York City Human Rights Law.

                           FOURTEENTH AFFIRMATIVE DEFENSE

       784.      Plaintiff is not entitled to the relief sought in the Complaint to the extent said

relief is not available under the applicable statutes, regulations, ordinances, executive orders, or

other relevant provisions of law.

                            FIFTEENTH AFFIRMATIVE DEFENSE

       785.      To the extent that Plaintiff suffered damages as alleged, such damages were

caused or contributed to by Plaintiff’s own actions or actions of others over whom Defendant

exercised no control.

                            SIXTEENTH AFFIRMATIVE DEFENSE

       786.      Plaintiff’s requests for relief are barred, in whole or in part, by the doctrine of

unclean hands.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

       787.      Plaintiff has failed to make reasonable efforts to mitigate her damages, if any, as

required by law.




                                                   71
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 72 of 73



       WHEREFORE, Defendant requests that the Court enter judgment dismissing the

Complaint in its entirety and with prejudice; granting to Defendant his costs and attorneys’ fees;

and granting to Defendant such other relief as the Court may deem just and proper.




                                                 PROSKAUER ROSE LLP

                                                 By      s/Bettina B. Plevan
Dated: New York, New York                             Bettina B. Plevan
       February 19, 2019                              bplevan@proskauer.com
                                                      11 Times Square
                                                      New York, New York 10036
                                                      212.969.3000
                                                      Attorneys for Defendant
                                                      Douglas Hoffman




                                                72
    Case 1:18-cv-07315-ALC-GWG Document 62 Filed 02/19/19 Page 73 of 73



                                CERTIFICATE OF SERVICE

       I hereby certify that, on February 19, 2019, I caused to be served the foregoing Answer

and Affirmative Defenses to the Complaint by ECF on the following counsel for Plaintiff:


                              Anthony Vassilev, Esq.
                              43 West 43rd Street, Suite 54
                              New York, New York 10036


                                                    s/Bettina B. Plevan
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                                               73
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